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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,     §
                                         §
              Plaintiffs,                §
                                         §
 V.                                      §
                                         §                    Case No. 5:21-cv-00844-XR
 STATE OF TEXAS, et al.,                 §                           [Lead Case]
                                         §
              Defendants.                §
                                         §
 HARRIS COUNTY REPUBLICAN PARTY, et al., §
                                         §
              Intervenor-Defendants.     §

                                   JOINT PRETRIAL ORDER

(1)      A short statement identifying the Court’s jurisdiction. If there is an unresolved
         jurisdictional question, state it:

         Plaintiffs assert that this Court has original jurisdiction of this action under 28 U.S.C. §§

1331, 1343(a)(3)–(4), 1345, 1357, and 2201(a) and 52 U.S.C. §§ 10101(d). State Defendants and

Intervenor-Defendants contest this Court’s jurisdiction on the following grounds: (i) Plaintiffs lack

Article III standing to bring their claims against State Defendants; they also lack standing to

challenge multiple provisions outright; and (ii) Organization Plaintiffs seek to vindicate the rights

of third parties but do not fall under any recognized exception. In addition, State Defendants and

Intervenor-Defendants maintain that sovereign immunity bars Plaintiffs’ claims against State

Defendants and that the Voting Rights Act did not create a private cause of action for these

Plaintiffs, precluding their Section 2 and Section 208 claims. Finally, Defendant Harris County

District Attorney Defendant Kim Ogg asserts sovereign from Plaintiffs’ constitutional claims, and

contends that Plaintiffs’ statutory claims against her are an improper end-run on her sovereign

immunity and that none of Plaintiffs has standing to sue her on any of their constitutional or


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statutory claims.1

(2)      A brief statement of the case, one that the judge could read to the jury panel for an
         introduction to the facts and parties:

         These consolidated cases challenge certain provisions of Texas Senate Bill 1, 87th Leg.,

2d Called Session (2021) (“SB 1”) that make changes to voter assistance, vote by mail, poll-

watching, and other aspects of voting. Plaintiffs allege that enforcement of various provisions of

SB 1 violate Section 2 and Section 208 of the federal Voting Rights Act (“VRA”), 52 U.S.C.

§§ 10301, 10508; Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12131–

65; Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, and the First, Fourteenth, and Fifteenth

Amendments to the U.S. Constitution.2 Specifically, Plaintiffs challenge the following provisions

of Texas law enacted through SB 1 (collectively, the “Challenged Provisions”):

                               a. SB 1 §§ 2.05-2.07

                               b. SB 1 §§ 3.04, 3.09, 3.10, 3.12, 3.13, 3.15

                               c. SB 1 §§ 4.01, 4.06, 4.07, 4.09, 4.12

                               d. SB 1 §§ 5.02-5.04, 5.06-5.08, 5.10-5.14

                               e. SB 1 §§ 6.01, 6.03-6.07

                               f. SB 1 §§ 7.02, 7.04

                               g. SB 1 § 8.01

         The State Defendants and Intervenor-Defendants deny Plaintiffs’ allegations against SB 1.


1
  These issues of sovereign immunity are currently pending before the Fifth Circuit in Mi Familia Vota v. Ogg, No.
22-50732, which was argued July 12, 2023.
2
  The parties are proceeding on all claims during the September 11 Phase I trial with the caveat that the trial record
remains open with respect to claims for intentional discrimination pending resolution of LUPE v. Bettencourt, No.
23-50201 (5th Cir.), and any related subsequent discovery, consistent with the Court’s proposal in its Amended Order.
See ECF No. 700 at 2 n.2. Specifically, the record would remain open to the LULAC Plaintiffs’ Voting Rights Act
(“VRA”) Section 2 claim, see ECF No. 207 ¶¶ 249-56 (Count I); the HAUL/MFV Plaintiffs’ Fourteenth and Fifteenth
Amendment intentional discrimination claims, as well as its VRA Section 2 claim, see ECF No. 199 ¶¶ 270-317
(Counts II-IV); and the LUPE Plaintiffs’ Fourteenth and Fifteenth Amendment intentional discrimination claims, as
well as VRA Section 2 claim, see ECF No. 208 ¶¶ 230-265 (Counts II-IV).

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They contend that SB 1 complies with all constitutional and legal requirements. District Attorney

Ogg contends that she has not taken any action that would allow any of Plaintiffs to meet the

threshold requirements of the Ex parte Young exception to sovereign immunity, much less to prove

that she violated any of the statutes they raise in their claims.

(3)      A summary of the remaining claims and defenses of each party:

         The Parties provide summaries of their remaining claims and defenses, below. The Parties

have also appended a chart illustrating which parties have overlapping claims and defenses as

Exhibit 1.

      A. Remaining Claims:

                                           LUPE Plaintiffs:

         LUPE Plaintiffs claim that Sections 5.07, 5.13, 6.03, 6.04, 6.05, 6.06, and 7.04’s “vote

harvesting” provision violate the First and Fourteenth Amendments by imposing an unjustified,

severe burden on the right to vote. See Burdick v. Takushi, 504 U.S. 428, 434 (1992); Anderson v.

Celebrezze, 460 U.S. 780, 789 (1983). This claim is against Defendants Nelson, Colmenero,

Scarpello, Wise, Creuzot, Rosales, and Garza.

         LUPE Plaintiffs claim that Sections 6.03, 6.04, 6.05, 6.06, and 7.04’s vote harvesting

provision violate the Fourteenth Amendment by intentionally discriminating against voters on the

basis of race. Vill. of Arlington Heights v. Metropolitan Hous. Dev. Corp., 429 U.S. 252, 265

(1977). This challenged claim is against Defendants Nelson, Colmenero, Scarpello, Wise, Creuzot,

Rosales, and Garza.

         LUPE Plaintiffs claim that Sections 6.03, 6.04, 6.05, 6.06, and 7.04’s vote harvesting

provisions violate the Fifteenth Amendment, by denying and abridging the rights of citizens of the

United States to vote on account of race, color, or previous condition of servitude. Mobile v.



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Bolden, 446 U.S. 55, 62 (1980) (plurality opinion) (citing Vill. of Arlington Heights, 429 U.S. at

265). This claim is against Defendants Nelson, Colmenero, Scarpello, Wise, Creuzot, Rosales, and

Garza.

         LUPE Plaintiffs claim that Sections 6.03, 6.04, 6.05, 6.06, and 7.04’s vote harvesting

provision violate Section 2 of the Voting Rights Act, 52 U.S.C. § 10301, et seq., because these

provisions create political processes that are “not equally open to participation” by minority voters,

such that those voters “have less opportunity than other members of the electorate to participate in

the political process and to elect representatives of their choice.” This claim is against all

Defendants against whom LUPE Plaintiffs have filed suit.

         LUPE Plaintiffs claim that Sections 6.03, 6.04, 6.05, 6.06, and 7.04’s vote harvesting

provision violate Title II of the Americans with Disability Act, 42 U.S.C. § 12131, et seq., because

these provisions discriminate against qualified Texas voters with disabilities on the basis of their

disability. This claim is against Nelson, Colmenero, Scarpello, Wise, Creuzot, Rosales, and Garza.

         LUPE Plaintiffs claim that Sections 6.03, 6.04, 6.05, 6.06, and 7.04’s vote harvesting

provision also violate Section 208 of the Voting Rights Act, 52 U.S.C. § 10508 because these

provisions impede voters’ practical ability to get necessary and statutorily guaranteed assistance.

This claim is against all Defendants against whom LUPE Plaintiffs have filed suit.

         LUPE Plaintiffs claim that Sections 4.09 and 8.01 violate the Fourteenth Amendment’s

Due Process Clause because these provisions are unconstitutionally vague. This claim is against

Defendants Nelson, Colmenero, Creuzot, Rosales, and Garza.

         LUPE Plaintiffs claim that Section 7.04’s vote harvesting provision violates the First and

Fourteenth Amendments to the U.S. Constitution because this provision is unconstitutionally

vague and burdens free speech. This claim is against Defendants Nelson, Colmenero, Scarpello,



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Wise, Creuzot, Rosales, and Garza.3

                                                   OCA Plaintiffs:

         REVUP-Texas brings claims, on behalf of itself and its members, that SB 1 Sections 5.02,

5.03, 5.07, 5.10, 5.12, and 6.04 violate Title II of the Americans with Disability Act, 42 U.S.C. §

12131, et seq., and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794 et seq.4 The Article 5

claims are brought against Defendants Nelson, Tatum, and Limon-Mercado. The Section 6.04

claims are brought against Defendants Nelson, Colmenero, Tatum, Limon-Mercado, Ogg, and

Garza.

         OCA-Greater Houston and League of Women Voters of Texas bring claims, on behalf of

themselves and their members, that (1) SB 1 Section 6.06, Tex. Elec. Code § 86.0105, conflicts

with and is preempted by Section 208 of the Voting Rights Act, 52 U.S.C. § 10508; and (2) SB 1

Section 7.04, Tex. Elec. Code § 276.015, is overbroad and void for vagueness in violation of the

First and Fourteenth Amendments. 5 The Section 6.06 claims are brought against Defendants

Nelson, Colmenero, Tatum, Limon-Mercado, Ogg, and Garza. The Section 7.04 claims are brought

against Defendants Colmenero, Ogg, and Garza.



3
  On May 26, 2023, LUPE Plaintiffs filed their Unopposed Motion for Voluntary Dismissal, see ECF No. 613, which
this Court granted on June 6, 2023, see ECF No. 624. As a result, LUPE Plaintiffs dismissed without prejudice their
claims that SB 1 §§ 2.04, 2.06, 2.07, 2.08, 2.11, 3.04, 3.09, 3.10, 3.12, 3.13, 4.01, 4.06, and 4.07 violate the First,
Fourteenth, and Fifteenth Amendments of the U.S. Constitution (Counts I, II, and III) and Section 2 of the Voting
Rights Act (Count IV). LUPE Plaintiffs also dismissed without prejudice a number of challenges to SB 1 §§ 5.07,
5.13, 6.03, 6.04, 6.05, 6.06, and 7.04 that are not set out in the body of this JPTO. LUPE Plaintiffs also intend to file
a motion to voluntarily dismiss without prejudice their remaining challenges to SB 1 § 6.01, which will be filed as
soon as they have given Defendants an opportunity to provide their position on the motion.
4
  REVUP-Texas voluntarily withdraws all claims challenging SB 1 Sections 5.06 and 6.06, as well as its claims that
SB 1 Section 6.04 violates Section 208 of the Voting Rights Act. REVUP-Texas additionally maintains that it has
pleaded challenges to SB 1 Sections 5.08, 5.13, and 5.14 under both Title II of the Americans with Disabilities Act
and the Rehabilitation Act but has not included them here because it recognizes that the Court rejected that position
in the Court’s summary ruling on OCA Plaintiffs’ materiality claims. See ECF No. 724 at 5–6. REVUP-Texas is not
affirmatively waiving its claims against Sections 5.08, 5.13, and 5.14 by not including them in this Joint Pretrial Order.
5
  OCA-Greater Houston and the League of Women Voters of Texas voluntarily withdraw all of their claims under the
Americans with Disabilities Act and Rehabilitation Act, as well as their claims that SB 1 Section 6.04 violates Section
208 of the Voting Rights Act. Additionally, all OCA Plaintiffs previously voluntarily withdrew their challenges to
SB 1 Section 5.06 under the Materiality Provision of the Civil Rights Act of 1964. See ECF No. 611 at 8 n.1.

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                                               HAUL Plaintiffs:

         HAUL Plaintiffs claim Sections 3.04, 3.09, 3.10, 3.12, 3.13, and 4.12 individually and

collectively, impose an undue burden on the right to vote in violation of the First and Fourteenth

Amendments.6 The burden is severe and/or discriminatory and not justified by sufficiently weighty

state interests. Plaintiffs Houston Area Urban League and Delta Sigma Theta Sorority bring this

claim against Defendants Colmenero, Ogg, Gonzales, Nelson, Tatum, and Callanen.

         HAUL Plaintiffs claim Sections 3.04, 3.09, 3.10, 3.12, 3.13, 3.15, 4.01, 4.06, 4.07, 4.09,

4.12, 5.02, 6.01, 6.03, 6.04, 6.05, and 6.07 violate the Fourteenth Amendment because race was a

motivating factor in the decision-making process that led to their enactment.7 Plaintiffs Houston

Area Urban League and Delta Sigma Theta Sorority bring this claim against Defendants

Colmenero, Ogg, Gonzales, Nelson, Tatum, and Callanen.

         HAUL Plaintiffs claim Sections 3.04, 3.09, 3.10, 3.12, 3.13, 3.15, 4.01, 4.06, 4.07, 4.09,

4.12, 5.02, 6.01, 6.03, 6.04, 6.05, and 6.07 violate the Fifteenth Amendment because they were

enacted to deny, abridge, or suppress the right to vote on account of race and ethnic origin.8

Plaintiffs Houston Area Urban League and Delta Sigma Theta Sorority bring this claim against

Defendants Colmenero, Ogg, Gonzales, Nelson, Tatum, and Callanen.

         HAUL Plaintiffs claim Sections 3.04, 3.09, 3.10, 3.12, 3.13, 3.15, 4.01, 4.07, 6.01, 6.03,

6.04, 6.05, and 6.07 violate Section 2 of the Voting Rights Act, 52 U.S.C. § 10301 et seq. because

they were motivated by a discriminatory purpose, and/or because, individually and collectively,

they result in a political process that is not equally open to participation by minority voters such

that they have less opportunity to elect candidates of their choice.9 Plaintiffs Houston Area Urban


6
  HAUL Plaintiffs voluntarily dismiss their challenge to SB1 §§ 5.04 and 7.04 under this claim (Count 1).
7
  HAUL Plaintiffs voluntarily dismiss their challenge to SB1 § 7.04 under this claim (Count 2).
8
  HAUL Plaintiffs voluntarily dismiss their challenge to SB1 § 7.04 under this claim (Count 3).
9
  HAUL Plaintiffs voluntarily dismiss their challenge to SB1 §§ 5.04 and 7.04 under this claim (Count 4).

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League and Delta Sigma Theta Sorority bring this claim against Defendants Colmenero, Ogg,

Gonzales, Nelson, Tatum, and Callanen.

         HAUL Plaintiffs claim Sections 6.01, 6.03, 6.04, 6.05, and 6.07 violate Section 208 of the

Voting Rights Act, 52 U.S.C. § 10508, because they impede the right of voters with disabilities

and voters with limited English proficiency to receive assistance from a person of their choice.

Plaintiffs Delta Sigma Theta and the Arc of Texas bring this claim against Colmenero, Ogg,

Gonzales, Nelson, Tatum, and Callanen.

         HAUL Plaintiffs claim Sections 4.06, 4.07, and 4.09 violate the Due Process Clause of the

Fourteenth because they are unconstitutionally vague. Jeffrey Lamar Clemmons brings this claim

against Defendants Nelson, Garza, Colmenero, Tatum, and Callanen.

         HAUL Plaintiffs claim Sections 5.02, 5.03, 5.06, 5.07, 5.10, 6.03, 6.04, 6.05, and 6.07,

individually and collectively, discriminate against qualified Texas voters with disabilities in

violation of Title II of the Americans with Disabilities Act. Plaintiff the Arc of Texas brings this

claim against Defendants Nelson, Ogg, Gonzales, Tatum, and Callanen.

         HAUL Plaintiffs claim Sections 5.02, 5.03, 5.06, 5.07, 5.10, 6.03, 6.04, 6.05, and 6.07,

individually and collectively, discriminate against qualified Texas voters with disabilities in

violation of Section 504 of the Rehabilitation Act. Plaintiff the Arc of Texas brings this claim

against Defendants Nelson, Ogg, Colmenero, Paxton, Tatum, and Callanen.

                                        LULAC Plaintiffs:10



10
 Pursuant to the Court’s instructions at the August 22 status conference, see Tr. at 11:19-23,
LULAC Plaintiffs no longer intend to challenge the following provisions of SB 1:

     •   §§ 4.01, 4.02, 4.06, 4.07, and 4.09 (previously challenged under LULAC Plaintiffs’ VRA
         Section 2 and Anderson-Burdick claims);
     •   § 5.01 (previously challenged under LULAC Plaintiffs’ VRA Section 2 claim);


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         LULAC Plaintiffs assert that SB 1 §§ 3.04, 3.09, 3.10, 3.12, 3.13, 4.12, 5.02, 5.03, 5.07,

5.08, and 7.04 violate Section 2 of the Voting Rights Act because SB 1 was enacted with an

impermissible discriminatory intent against Black and Latino voters. This claim is brought against

all Defendants.

         LULAC Plaintiffs assert that SB 1 §§ 5.02, 5.03, 5.07, and 5.08 violate the First and

Fourteenth Amendments to the United States Constitution because they impose an undue burden

on the right to vote. This claim is brought against Defendants Callanen, Scarpello, Wise, Tatum,

Salinas, Ramon, Limon-Mercado, DeBeauvoir, Gonzales, Garza, Ogg, Palacios, Creuzot, and

Hicks.

         LULAC Plaintiffs assert that SB 1 § 7.04 violates the First and Fourteenth Amendments to

the United States Constitution because it infringes on the rights of free speech and free expression

and is not narrowly tailored to advance any compelling state interest. This claim is brought against

Defendants Callanen, Scarpello, Wise, Tatum, Salinas, Ramon, Limon-Mercado, DeBeauvoir,

Gonzales, Garza, Ogg, Palacios, Creuzot, and Hicks.

         LULAC Plaintiffs assert that SB 1 § 7.04 violates Section 208 of the Voting Rights Act

because it denies voters qualified for assistance the right to receive assistance from the person of

their choice. This claim is brought against all Defendants.

                                    Mi Familia Vota Plaintiffs:

         Mi Familia Vota Plaintiffs assert that SB 1 violates the First, Fourteenth, and Fifteenth

Amendments of the U.S. Constitution, as well as Sections 2 and 208 of the Voting Rights Act.



    •    §§ 6.03, 6.04 (previously challenged under LULAC Plaintiffs’ VRA Section 2 and
         Anderson-Burdick claims).

LULAC Plaintiffs’ decision to no longer challenge these specific provisions of SB 1 is without
prejudice to any other Plaintiff’s continued challenge to the same.

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Specifically, the Mi Familia Vota Plaintiffs assert:

         a) The challenged provisions of SB 1 individually and collectively place an undue

              burden on the ability of the Plaintiffs, as well as Texas’s Black and Latino voters, to

              participate in elections and cast a ballot that will count, in violation of the First and

              Fourteenth Amendment. The challenged provisions include SB 1 §§ 3.04, 3.12, 3.13

              (prohibiting most voters from voting inside a motor vehicle and requiring polling places

              to be located inside a building, banning drive-through voting); SB §§ 3.09, 3.10

              (limiting voting hours and prohibiting 24-hour voting); SB 1 § 4.12 (eliminating drop

              boxes); SB 1 §§ 4.01, 4.07, 6.01 (providing partisan poll watchers with expanded

              access to voters and election workers, limiting election workers’ ability to remove poll

              watchers who intimidate voters or otherwise interfere with voting or counting

              processes); SB 1 § 5.04, 7.04 (restricting the distribution of absentee ballot applications

              by election officials and third parties); SB 1 §§ 5.02-5.03, 5.07-5.08, 5.13 (requiring

              early voting ballot applications to include specific identification numbers and the

              rejection of applications and ballots that contain mismatched identification numbers

              even where both numbers are accurate and merely obtained from different

              identification documents; and prohibiting the use of electronic or photocopied

              signatures); SB § 6.01 (requiring anyone who provides transportation to more than

              seven voters to submit a form with their personal information and authorization for

              providing transportation); SB 1 § 6.03 (requiring assistants to fill out forms and take an

              oath affirming that the voter has confirmed to them that they are qualified to obtain

              assistance); SB 1 § 6.05, 6.07 (requiring assistants to people voting by mail to provide

              on their ballot envelop their relationship to the voter, whether they received



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              compensation, their contact information, and their signature); SB 7.02 (eliminating

              employers’ obligation to provide employees with leave to vote where the employee had

              any two-hour block outside that job’s working hours during the voting period). The

              burdens imposed by the challenged provisions individually and collectively on eligible

              Texas voters’ fundamental right to vote are severe and neither justified by nor necessary

              to promote any legitimate interest of the State.11

         b) The above-referenced challenged provisions also violate the equal protection clause of

              the Fourteenth Amendment because race was a motivating factor in the decision-

              making process that led to SB 1. In particular, the challenged provisions, individually

              and collectively, bear more heavily on Latino, Black, and other voters of color and were

              adopted for the purpose of denying Latino, Black, and other voters of color full and

              equal access to the political process. Further supporting this claim is the historically

              racist voting policies and laws of the State of Texas and the abnormal legislative

              procedure that led to the passing of SB 1, which included, for example, two special

              sessions following the intentional absences of legislators opposing SB 1, the Texas

              speaker of the house oddly banning legislators from using the term “racism” while

              debating SB 1, and the final bill not including a provision proposed by SB 1 opponents

              whereby a committee would have been formed to study to the racial impacts of SB 1.

              Under this Claim, Mi Familia Vota also challenges SB 1 §§ 2.05-2.07 (establishing

              additional voter roll purges, requiring targeted voters to satisfy onerous requirements




11
  Pursuant to the Court’s instructions at the August 22 status conference, see Tr. at 11:19-23, Mi
Familia Vota Plaintiffs no longer intend to challenge the following provisions of SB 1: §§ 2.05-
2.07; and 5.11, 5.12 and 5.14 as part of its undue burden Claim. It is voluntarily dismissing its
challenge to SB 1 § 5.01 in its entirety.

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              to defeat erroneous removal from the rolls, and penalizing voter registrars alleged to be

              noncompliant with the purging requirements); and SB 1 §§ 5.11-5.14 (allowing for the

              rejection of ballots without notice by either the signature verification committee or

              early ballot committee if either committee determines that the signature allegedly does

              not match any known signature of the voter without regard to the age of the comparison

              signature);

         c) All of the above-referenced challenged provisions violate Section 1 of the Fifteenth

              Amendment because the provisions were enacted with racially discriminatory intent

              and abridge, if not outright deny, Latino, Black, and other voters of color of their right

              and freedom to vote.

         d) All of the above-referenced challenged provisions violate Section 2 of the Voting

              Rights Act, 52 U.S.C. § 10301, because they are intended to and under the totality of

              circumstances do disproportionately burden and erect barriers to Black and Latino

              voters’ ability to participate in the political process.

         e) SB 1 §§ 6.01, 6.03, 6.04, 6.05, and 6.07 deny qualified voters access to assistors of

              their choice, thereby violating Section 208 of the Voting Rights Act, 52 U.S.C. § 10508.

B. Remaining Defenses:

                              State Defendants and Intervenor-Defendants

    1. General Defenses

         a) This Court lacks jurisdiction to hear Plaintiffs’ claims. (i) Plaintiffs do not have Article

              III standing to bring their claims against State Defendants; they also lack standing to

              challenge multiple provisions outright. (ii) Organization Plaintiffs seek to vindicate the

              rights of third parties but do not fall under any recognized exception. (iii) Sovereign



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              immunity bars Plaintiffs’ claims against State Defendants. (iv) The Voting Rights Act

              did not create a private cause of action for these Plaintiffs, precluding their Section 2

              and Section 208 claims. (v) The Civil Rights Act did not create a private cause of action,

              precluding Plaintiffs’ claim under 52 U.S.C. § 10101.

         b) If the Court reaches the merits, State Defendants and Intervenor-Defendants deny that

              any provision of SB 1 is unlawful. SB 1 a commonsensical, constitutional, and legal

              statute enacted to “to prevent fraud in the electoral process,” promote “voter access,”

              “increas[e] the stability of [] constitutional democracy,” and make “the conduct of

              elections . . . uniform and consistent throughout [Texas].” SB 1 §§ 1.03, 1.04, 4.02.

              Indeed, multiple provisions in SB 1, including those challenged by Plaintiffs, expand

              voter access and protections; others simply clarified existing standards and practices.

    2. Standing

         a) Plaintiffs do not satisfy Article III standing with respect to the State Defendants; the

              Governor, Secretary of State, Attorney General and State of Texas either (i) do not

              enforce the SB1 sections Plaintiffs challenge, or (ii) do not harm Plaintiffs with the

              actions they take to implement a particular provision and could not redress any injuries

              by changing their behavior.

         b) Plaintiffs do not have standing to challenge provisions in SB 1 that clarified or

              confirmed preexisting standards or practices as neither they nor Organization Plaintiffs’

              members suffered an injury-in-fact that would be redressable by this Court.

         c) Multiple Organization Plaintiffs do not have members and therefore cannot rely on

              associational standing to meet Article III requirements. At minimum, this includes

              Southwest Voter Registration Project, the William C. Valequez Institute, Voto Latino,



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              and Mi Familia Vota.

         d) Organization Plaintiffs cannot rely on associational standing to challenge SB 1 under

              the ADA and Rehabilitation Act since the involvement of individual members as

              parties is essential to the resolution of the claims as well as the relief sought.

         e) Organization Plaintiffs cannot establish a cognizable injury-in-fact in their own right,

              as the Challenged Provisions: (i) do not directly regulate Organization Plaintiffs or their

              activities; (ii) do not pose a direct conflict with Organization Plaintiffs’ mission; (iii)

              have not caused Organization Plaintiffs to engage in conduct that differs from their

              routine activities, and/or (iv) have not caused them to divert resources in response to a

              reasonably certain injury. An interest in abstract social concerns does not impart

              standing.

         f) Individual Plaintiffs have not suffered an injury-in-fact. Their alleged harm is

              conjectural or hypothetical, as opposed to actual or imminent, which does not confer

              Article III standing. This is also true of many of Organization Plaintiffs’ members.

         g) Organization Plaintiffs violate the general rule that a plaintiff must assert his own legal

              rights and interests, not those of third parties, and therefore lack statutory standing. The

              limited exception does not apply here.

    3. Sovereign Immunity

         a) State Defendants maintain that sovereign immunity bars Plaintiffs’ claims against

              them.

         b) The State of Texas is an improper party. States are generally immune from suit under

              the terms of the Eleventh Amendment and the doctrine of sovereign immunity.




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         c) The Ex parte Young exception to sovereign immunity does not apply since State

              Defendants lack a sufficient enforcement connection to the Challenged Provisions.

                 i.    In accordance with the Court of Criminal Appeals’ decision in State v. Stephens,

                       the Attorney General cannot initiate prosecution of election cases unilaterally

                       but is instead limited to assisting the district or county attorney upon request.

                       PD-1032-20, 2021 WL 5917198, at *1, 8 (Tex. Crim. App. Dec. 15, 2021).

                       Plaintiffs cannot establish that formal enforcement is on the horizon.

                ii.    The Secretary of State’s title of chief election officer is not a delegation of

                       authority. Accordingly, the Secretary does not enforce the Challenged

                       Provisions—local county-level officials do. Any action the Secretary takes does

                       not compel or constrain anyone into compliance and therefore does not

                       constitute an enforcement connection for the purposes of Ex parte Young.

         d) Plaintiffs cannot demonstrate an alternative exception to sovereign immunity.

                 i.    State Defendants have not waived sovereign immunity for any of Plaintiffs’

                       claims.

                ii.    Congress did not abrogate state sovereign immunity under § 1983 or the Civil

                       Rights Act.

               iii.    The Supreme Court established a three-part test for determining whether Title

                       II of the ADA validly abrogates states’ sovereign immunity on a claim-by-claim

                       basis. Under this standard, the Secretary of State is entitled to sovereign

                       immunity. The claims against the Attorney General were previously dismissed.

               iv.     Although OCA-Greater Houston v. Texas holds that the VRA abrogates

                       sovereign immunity, 867 F.3d 604, 614 (5th Cir. 2007), that case was wrongly



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                       decided. State Defendants preserve this argument for appeal.

    4. 14th & 15th Amendment – Intentional Discrimination Claims

         a) No provision of SB 1 was adopted with the intent to discriminate on the basis of race.

         b) The Texas Legislature is entitled to a presumption of good faith. Plaintiffs cannot

              overcome that presumption.

         c) Plaintiffs cannot prove that any provision of SB 1 resulted in a meaningful disparate

              impact on racial grounds.

    5. Section 2 VRA Claim – Disparate Impact/ Intentional Discrimination

         a) SB 1 does not violate Section 2 because voting is equally open to voters of all races in

              Texas.

         b) No challenged provision of SB 1 blocks or seriously hinders voting by members of any

              minority group.

         c) Many of the SB 1 Challenged Provisions incorporate standard practice at the time

              Section 2 was adopted in 1982.

         d) None of the Challenged Provisions resulted in a racial disparate impact—let alone one

              significant enough to trigger Section 2 VRA liability.

         e) Even if discriminatory burden existed, that burden is neither caused by nor linked to

              social and historical conditions that have or currently produce discrimination against a

              minority group.

         f) Early and in-person voting are broadly available to all Texans. Mail-in voting is

              available to particular categories of Texans.

         g) Texas has the authority to structure its elections.




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         h) The challenged provisions fall in line with the election laws and practices implemented

              by many other states and the federal government for the purpose of administering

              secure and orderly elections.

         i) The VRA did not create a private cause of action.

    6. Constitutional Right to Vote Claims

         a) None of the Challenged Provisions are subject to constitutional scrutiny because none

              impose severe burdens on the right to vote.

         b) If non-severe burdens are sufficient to invoke constitutional scrutiny, SB 1’s

              Challenged Provisions are supported by important state interests.

         c) If the Court concludes any provision of SB 1 imposes a severe burden on voting, it is

              supported by compelling state interests.

         d) All of the Challenged Provisions have plainly legitimate sweeps, so Plaintiffs’ facial

              challenges to SB 1’s provisions are inappropriate.

         e) The right to vote is not implicated where the State permits voters to cast their ballot by

              other means.

         f) Texas has the authority to structure its elections.

         g) The Challenged Provisions fall in line with the election laws and practices implemented

              by many other states and the federal government for the purpose of administering

              secure and orderly elections.

    7. First Amendment Free Speech Claims

         a) Plaintiffs cannot bring a facial challenge because § 7.04 of SB 1 has a plainly legitimate

              sweep.




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         b) Under the Anderson/Burdick test—which governs this claim—§ 7.04 clearly passes

              muster because (i) it is supported by important state interests, and (ii) any burden on

              speech is incidental and modest.

         c) Even if strict scrutiny applies, § 7.04 is narrowly tailored to advance compelling state

              interests.

         d) The conduct regulated by § 7.04 is not protected speech.

    8. Constitutional Vagueness Claims

         a) Plaintiffs’ challenges are improper pre-enforcement challenges. All provisions must be

              challenged in defenses to enforcement actions.

         b) This Court should not adjudicate Plaintiffs’ vagueness challenges because Texas’s

              courts have not been given a chance to interpret the Challenged Provisions or

              potentially adopt narrowing constructions.

         c) Plaintiffs lack standing to bring their vagueness challenges because there is no

              imminent enforcement action against any of them or Organization Plaintiffs’ members.

         d) The Challenged Provisions are not vague or overbroad and comply with the

              Constitution.

         e) The Challenged Provisions give fair notice of the conduct the provisions proscribe.

    9. Section 208 VRA Claims

         a) Plaintiffs lack standing because no Plaintiff alleges that he or she was denied voter

              assistance; likewise, Plaintiffs do not allege that any member of Organization Plaintiffs

              was denied voter assistance.

         b) Section 208 does not preempt the Challenged Provisions.




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         c) None of the Challenged Provisions results in the State selecting the person who will

              assist any voter.

         d) Section 208’s text contemplates that States may place reasonable restrictions on whom

              disabled individuals can select to provide voter assistance.

         e) To that end, the Challenged Provisions are reasonable regulations of voter assistance—

              precisely the sort of state regulations that Section 208 envisions.

         f) Section 208 does not specify that States must allow assistance beyond that allowed by

              Texas law.

         g) The VRA does not create a private cause of action.

    10. Title II ADA/ Rehabilitation Act Claims

         a) Plaintiffs lack standing because no Plaintiff has alleged that he or she was denied a

              reasonable accommodation.

         b) Plaintiffs cannot make out a prima facie case of an ADA or Rehabilitation Act

              violation.

         c) Voting is a service or program that is provided by Texas’s political subdivisions and

              political parties, not the Secretary of State.

         d) The ADA and Rehabilitation Acts are not election laws. The Secretary of State is not

              responsible for any non-compliance with the ADA or Rehabilitation Act committed by

              local officials.

         e) The Challenged Provision do not discriminate against qualified Texas voters with

              disabilities.

                 i.    No provision of SB 1 was adopted with the intent to discriminate against voters

                       with disabilities.



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                ii.    The Challenged Provisions do not impose eligibility criteria that exclude or tend

                       to exclude people with disabilities.

               iii.    Voters with disabilities are not excluded from participation in, or denied

                       benefits of, or otherwise discriminated against by the Challenged Provisions.

                       Voters with disabilities have meaningful access to voting, especially when the

                       program is viewed in its entirety.

               iv.     Plaintiffs can point to no one who requested a reasonable accommodation—nor

                       can they point to anyone who was denied a reasonable accommodation.

         f) As a matter of law, Texas law provides ample reasonable accommodations for voters

              with disabilities.

         g) Plaintiffs have not identified a reasonable modification to the challenged public

              program that would grant their members the meaningful access their members are

              allegedly denied. Their request to enjoin the Challenged Provisions for all Texas voters

              fails on its face.

         h) Neither the ADA nor the Rehabilitation Act mandates that public entities adopt a

              particular technology or accommodation, so long as individuals with qualifying

              disabilities have meaningful access to government programs.

         i) Enjoining the Challenged Provisions in their entirety would represent a fundamental

              alteration of state policy.

         j) Plaintiffs are not entitled to seek complete non-enforcement of Challenged Provisions

              because they did not seek to certify, and the court did not certify, a class.




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C.       Parties Taking No Position on Contested Issues in this Joint Pretrial Order

         The Bexar County Elections Administrator, Jacquelyn Callanen; Bexar County District

Attorney, Joe D. Gonzales; Dallas County Elections Administrator, Michael Scarpello; Dallas

County District Attorney, John Creuzot; El Paso County Elections Administrator, Lisa Wise;

Harris County Clerk, Teneshia Hudspeth; Hidalgo County Elections Administrator, Hilda A.

Salinas; Hidalgo County District Attorney, Toribio “Terry” Palacios; Travis County Clerk, Dyana

Limon-Mercado; and Travis County District Attorney, José Garza, take no position on the

contested issues in this Joint Pretrial Order; however, the foregoing parties do not waive any

available defenses, including defenses asserted in their respective answers.

(4)      A list of facts all parties have reached agreement upon & (6) A list of legal propositions
         that are not in dispute;

      A. Legislative History of SB 1:

      1. On March 11, 2021, Texas Senator Bryan Hughes introduced Senate Bill 7 (“SB7”) in the

Texas Legislature.

      2. Senator Bryan Hughes introduced Senate Bill 1 (“SB 1’). The bill was heard before the

Senate State Affairs Committee on August 9, 2021, and voted out of committee that same day.

      3. SB 1 passed the Senate on August 12, 2021 on a party-line vote, following a 15-hour

filibuster by Senator Carol Alvarado.

      4. SB 1 was heard before the House Select Committee on Constitutional Rights and Remedies

on August 23, 2021. During the hearing, the Committee Chair permitted two witnesses to testify

virtually in favor of the bill without calling a vote to authorize virtual testimony or alerting the

public that such testimony would be permitted. The Committee passed SB 1 that same day.

      5. The House debated SB 1 on August 26, 2021, and adopted seventeen amendments to the

bill.


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    6. The House passed SB 1 on August 27, 2021.

    7. The House and Senate convened a conference committee, which issued its report to each

chamber on August 30, 2021.

    8. The Senate and the House both passed the SB 1 conference committee report on August

31, 2021, and the Legislature sent SB 1 to the Governor for his signature on September 1, 2021.

    9. The Governor signed SB 1 into law on September 7, 2021.

    10. SB 1 went into effect on December 2, 2021.

    B. Provisions of SB 1:

    11. A true and correct copy of SB1, highlighted to show the provisions Plaintiffs challenge, is

attached to the Joint Pretrial Order as Appendix A.

    12. The parties have been unable to reach agreement on any further description of the

Challenged Provisions of SB 1. Plaintiffs have attached as Appendix B a summary description of

the provisions of SB1 that Plaintiffs challenge, including the location those challenged provisions

are found in the Texas Election Code.

    C. The Parties

    13. Plaintiff La Unión Del Pueblo Entero (LUPE) is a 501(c)(3) non-partisan membership

organization headquartered in San Juan, Texas.

    14. Plaintiff Friendship-West Baptist Church (“Friendship-West”) is a 501(c)(3) non-partisan

religious organization in Dallas County.

    15. Plaintiffs Anti-Defamation League Austin, Southwest, and Texoma Regions (“ADL”) are

made up of the regional offices of the non-partisan Anti-Defamation League in Texas.

    16. Plaintiff Southwest Voter Registration Education Project (“SVREP”) is a 501(c)(3)

nonprofit and non-partisan organization headquartered in San Antonio, Texas.



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    17. Plaintiff Texas Impact is a 501(c)(4) non-partisan, multi-denominational organization.

    18. Plaintiff Mexican American Bar Association of Texas (“MABA-TX”) is a professional

association of Latino lawyers located in Texas.

    19. Plaintiff Texas Hispanics Organized For Political Education (“TEXAS HOPE”) is a

501(c)(3) nonprofit membership organization.

    20. Plaintiff JOLT ACTION is a 501(c)(4) nonprofit membership organization.

    21. Plaintiff William C. Velasquez Institute (“WCVI”) is a 501(c)(3) nonprofit and non-

partisan public policy analysis organization.

    22. Plaintiff FIEL Houston Inc. (“FIEL”) is a 501(c)(3) nonprofit, non-partisan membership

organization based in Houston, Texas.

    23. Plaintiff James Lewin is a registered voter residing in Austin, Texas.

    24. Plaintiff Jeffrey Clemmons is a registered voter residing in Austin, Texas.

    25. Plaintiff LULAC Texas (“LULAC”) is the Texas chapter of the League of United Latin

American Citizens, a Latino civil rights membership organization in the United States. LULAC’s

mission is to protect the civil and voting rights of Latinos.

    26. Plaintiff Voto Latino is a 501(c)(4) nonprofit, social welfare organization. Voto Latino

engages, educates, and empowers Latino communities across the United States, working to ensure

that Latino voters are enfranchised and included in the democratic process.

    27. Plaintiff Texas Alliance for Retired Americans (the “Alliance”) is incorporated in Texas as

a 501(c)(4) nonprofit, social welfare, membership organization. The Alliance’s mission is to

ensure social and economic justice and full civil rights for retirees.

    28. Plaintiff Texas AFT is a statewide labor union in Texas. Texas AFT advocates for the

employment rights of its members and champions high-quality public education, fairness,



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democracy, and economic opportunity for students, families, and communities. Part of Texas

AFT’s mission is to help its members select and elect leaders who embrace and uphold the interests

of its members and the values of the union.

    29. Plaintiff Marla López is a registered voter who resides in Harris County, Texas.

    30. Plaintiff Marlon López is a registered voter who resides in Harris County, Texas.

    31. Plaintiff Paul Rutledge is a registered voter who resides in Montgomery County, Texas.

    32. Plaintiff Mi Familia Vota is a national, non-profit civic engagement organization with a

state office in Texas.

    33. Plaintiff Houston Area Urban League (“HAUL”) is a nonpartisan, nonprofit corporation

with its principal office in Houston, Texas. HAUL is an affiliate of the National Urban League.

    34. Plaintiff The Arc of Texas is a nonpartisan, nonprofit corporation with its principal office

in Austin, Texas. The Arc of Texas is an affiliate of The Arc of the United States.

    35. Plaintiff Delta Sigma Theta Sorority, Inc. (“Delta Sigma Theta”) is a national, nonpartisan,

not-for-profit membership service organization.

    36. Plaintiff OCA-Greater Houston (“OCA-GH”) is a non-profit membership organization and

the Greater Houston arm of the national organization OCA – Asian Pacific American Advocates.

    37. Plaintiff League of Women Voters of Texas is a statewide non-profit membership

organization.

    38. Plaintiff REVUP-Texas is a grassroots organization whose name stands for “Register,

Educate, Vote, Use Power.” Defendant Greg Abbott is the Governor of Texas.

    39. Defendant Jane Nelson is the Secretary of State of Texas (the “Secretary”). The office of

the Secretary of State is an executive department or agency of the State of Texas.

    40. Defendant Angela Colmenero is the Provisional Attorney General of Texas (the “Attorney



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General”). The office of the Texas Attorney General is an executive department or agency of the

State of Texas.

     41. Defendant Jacquelyn Callanen is the Bexar County Elections Administrator (the “Bexar

County EA”) and is responsible for the administration of elections in Bexar County.

     42. Defendant Michael Scarpello is the Dallas County Elections Administrator (the “Dallas

County EA”) and is responsible for the administration of elections in Dallas County.

     43. Defendant Lisa Wise is the El Paso County Elections Administrator (the “El Paso County

EA”) and is responsible for the administration of elections in El Paso County.

     44. Defendant Clifford Tatum is the former Harris County Elections Administrator (the “Harris

County EA”) and was responsible for the administration of elections in Harris County during his

service as Harris County EA.12

     45. Teneshia Hudspeth is the Harris County Clerk and Chief Election Officer for Harris

County, and is responsible for the administration of elections in Harris County. Plaintiffs are in

the process of moving under Rule 25(d) to substitute Ms. Hudspeth, in her official capacity, for

Defendant Tatum.

     46. Defendant Hilda Salinas is the Hidalgo County Elections Administrator (the “Hidalgo

County EA”) and is responsible for the administration of elections in Hidalgo County.

     47. Defendant Dyana Limon-Mercado is the Travis County Clerk (the “Travis County Clerk”)

and is responsible for administration of elections in Travis County.13

     48. Defendant Joe Gonzales is the Bexar County District Attorney (the “Bexar County DA’s


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   The Harris County Elections Administrator has stipulated to the authenticity, accuracy, and conditional admission
of certain discovery responses. Exhibit 8. The Harris County Elections Administrator’s office was abolished on
September 1, 2023, pursuant to 88th Leg. R.S., S.B. 1750 (to be codified as an amendment to Tex. Elec. Code §
31.050). Plaintiffs intend to shortly file a motion to substitute the Harris County Clerk in her official capacity as a
Defendant in place of the Harris County Elections Administrator.
13
   The Travis County Clerk has stipulated to the authenticity, accuracy, and conditional admission of certain
discovery responses. Exhibit 9.

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Office”) and is responsible for the investigation and prosecution of alleged criminal violations of

the Texas Election Code in Bexar County, including SB 1 §§ 4.06, 4.09, 6.04, 6.05, and 7.04. See

Exhibit 2 (Stip. of the Dist. Att’y of Bexar Cnty.), ¶¶ 1-2.

    49. The Bexar County DA’s Office does not disclaim an intent to investigate or enforce these

criminal provisions. Ex. 2, ¶¶ 3-6.

    50. Defendant José Garza is the Travis County District Attorney (the “Travis County DA’s

Office”) and is responsible for the investigation and prosecution of alleged criminal violations of

the Texas Election Code in Travis County, including SB 1 §§ 4.06, 4.09, 6.05, 6.06, and 7.04 (the

“Criminal Provisions”), and the crime of perjury. See Exhibit 3 (Stip. of the Dist. Att’y of Travis

Cnty.), ¶¶ 1-2.

    51. The Travis County DA’s Office does not disclaim an intent to investigate or enforce these

criminal provisions. Ex. 3, ¶¶ 3-6.

    52. Plaintiffs and the Harris County DA’s Office continue to work towards a negotiated

stipulation ahead of trial. The parties will apprise the Court if a stipulation is reached.

    53. Defendant Toribio “Terry” Palacios is the Hidalgo County District Attorney (the “Hidalgo

County DA’s Office”) and is responsible for the investigation and prosecution of criminal

violations of the Texas Election Code in Hidalgo County, including SB 1 §§ 4.06, 4.09, 6.04, and

7.04. See Exhibit 10 (Stip. of the Dist. Att’y of Hidalgo Cnty.) ¶¶ 1-2..

    54. The Hidalgo County DA’s Office does not disclaim an intent to investigate or enforce these

criminal provisions. Ex. 10, ¶¶ 3-8.

    55. Defendant John Creuzot is the Dallas County District Attorney (the “Dallas County DA’s

Office”) and is responsible for the investigation and prosecution of alleged criminal violations of

the Texas Election Code in Dallas County, including SB 1 §§ 4.06, 4.09, 6.04, 6.05, 6.06, and 7.04.



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See Exhibit 4 (Stip. of the Dist. Att’y of Dallas Cnty.), ¶¶ 1-2.

    56. The Dallas County DA’s Office does not disclaim an intent to investigate or enforce these

criminal provisions. Ex. 4, ¶¶ 3-4.

    57. Defendant Bill Hicks is the District Attorney of the 34th Judicial District, which

encompasses El Paso, Hudspeth, and Culberson counties, and is responsible for the investigation

and prosecution of alleged criminal violations of the Texas Election Code in El Paso County,

including SB 1 §§ 4.06, 4.09, 6.04, 6.05, 6.06, and 7.04, and the crime of perjury. See Exhibit 5

(Stip. of the Dist. Att’y of 34th Judicial District), ¶¶ 1-2.

    58. Mr. Hicks does not disclaim an intent to investigate or enforce these criminal provisions.

Ex. 5, ¶¶ 6-7.

    59. Intervenor-Defendant Harris County Republican Party is the county Republican Party for

Harris County, Texas.

    60. Intervenor-Defendant Dallas County Republican Party is the county Republican Party for

Dallas County, Texas.

    61. Intervenor-Defendant National Republican Senatorial Committee is the national senatorial

committee of the Republican Party as defined by 52 U.S.C. § 30101(4).

    62. Intervenor-Defendant National Republican Congressional Committee is the national

congressional committee of the Republican Party as defined by 52 U.S.C. § 30101(4).

    63. Intervenor-Defendant Republican National Committee is the national committee of the

Republican Party as defined by 52 U.S.C. § 30101(4).

    (5) A list of contested issues of fact & (7) A list of contested issues of law;

A. Standing:

    1. Have one or more Plaintiffs established a cognizable, concrete, and particularized injury-



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in-fact?

     2. If Plaintiffs establish a cognizable, concrete, and particularized injury, is that injury

traceable to and redressable by particular defendants?14

     3. Have Organization Plaintiffs satisfied the requirements for standing?

     4. Do the claims and relief asserted under ADA and Rehabilitation Act require the

participation of individual members as parties?

     5. Do any of the Plaintiffs have statutory standing?

B. First Amendment Free Speech:

     1. Whether any of the challenged provisions of SB 1 violate the First Amendment.

     2. Whether Plaintiffs may bring a facial challenge to § 7.04.

     3. Whether § 7.04 has a plainly legitimate sweep so as to preclude a facial challenge.

     4. Whether § 7.04 is subject to the Anderson/Burdick test or to strict scrutiny under the First

Amendment, and if the former, whether § 7.04 satisfies the Anderson/Burdick test.

     5. Whether the conduct regulated by § 7.04 is protected speech.

     6. Whether § 7.04 restricts political speech.

     7. Whether § 7.04 applies to particular speech because of the topic discussed or the idea or

message expressed.

     8. Whether § 7.04 furthers a compelling interest and is narrowly tailored to achieve that

interest.

C. Fourteenth Amendment Void for Vagueness:

     1. Whether any of SB 1’s provisions are unconstitutionally vague.



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  In a motion for summary judgment pending before the Court (ECF 614), District Attorney Ogg contends that
there is no genuine issue of material fact for trial on the ability of any of the Plaintiffs to establish these standing
requirements as against her.

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    2. Whether Plaintiffs can bring pre-enforcement vagueness challenges to SB 1 §§ 4.06, 4.07,

4.09, 7.04, and 8.01, or whether they can only be raised as defenses to prosecutions or civil actions.

    3. Whether SB 1 §§ 4.06, 4.07, 4.09, 7.04, and 8.01 provide regulated persons fair notice of

the conduct they proscribe.

    4. What the appropriate standard is for evaluating Plaintiffs’ vagueness challenges to SB 1 §§

4.06, 4.07, 4.09, 7.04, and 8.01.

D. First Amendment Overbreadth

    1. Whether § 7.04 unreasonably restricts constitutionally protected speech or expressive

conduct.

    2. Whether Texas’s courts should be given a chance to interpret and potentially adopt

narrowing constructions of § 7.04 before a federal court assesses whether it is unconstitutionally

vague or overbroad.

    3. Whether a substantial number of SB 1 § 7.04’s applications are unconstitutional when

judged against the provision’s legitimate sweep.

    4. Whether SB 1 § 7.04 might operate unconstitutionally under some conceivable set of

circumstances.

 E. First And Fourteenth Amendment Right to Vote : Undue Burden

    1. The extent to which SB 1 §§, 3.04, 3.09-3.10, 3.12, 3.13, 4.01, 4.06-4.07, 4.09, 4.12, 5.02-

5.04, 5.07-5.08, 5.13, 6.01, 6.03-6.07, 7.02, and 7.04 burden the right to vote.

    2. If any of the challenged provisions of SB 1 impose an undue burden on the right to vote,

whether they are justified by sufficient state interests.

    3.     What the appropriate standard is for evaluating Plaintiffs’ vagueness challenges to SB 1

§§ 4.06, 4.07, 4.09, 7.04, and 8.01.



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F. Fourteenth And Fifteenth Amendments Intentional Discrimination:

    1. Whether SB 1 §§ 2.05-2.07, 3.04, 3.09-3.10, 3.12, 3.13, 3.15, 4.01, 4.06-4.07, 4.09, 4.12,

5.01-5.04, 5.07-5.08, 5.11-5.14, 6.01, 6.03-6.07, 7.02, and 7.04 violate the Fourteenth and

Fifteenth Amendment Prohibitions on Intentional Racial Discrimination.

    2. Whether Plaintiffs can overcome the presumption that the Legislature acted in good faith.

    3. Whether the Legislature adopted SB 1 §§ 2.05-2.07, 3.04, 3.09-3.10, 3.12, 3.13, 3.15, 4.01,

4.06-4.07, 4.09, 4.12, 5.01-5.04, 5.07-5.08, 5.11-5.14, 6.01, 6.03-6.07, 7.02, and 7.04 with the

intent to discriminate on the basis of race.

    4. Whether race was a motivating factor in the adoption of SB 1 §§ 3.04, 3.09-3.10, 3.12,

3.13, 3.15, 4.01, 4.06-4.07, 4.09, 4.12, 5.01-5.04, 5.07-5.08, 5.11-5.14, 6.01, 6.03-6.07, 7.02, and

7.04.

    5. Whether any of the Challenged Provisions had a sufficient disparate impact on any racial

group.

    6. Whether the legislative supporters of any of the Challenged Provisions of SB 1 reasonably

foresaw that those provisions would cause a disparate impact on any racial group.

    7. Whether the purported justifications for the Challenged Provisions of SB 1 were pretextual.

    8. Whether the legislative process leading up to the passage of SB 1 included departures from

the normal procedural sequence.

    9. Whether the specific sequence of events leading up to the enactment of SB 1 reveals a

racially discriminatory purpose.

    10. Whether the legislative history of SB 1 reveals a discriminatory purpose or any racist

statements by supporters of the law.

    11. Whether additional evidence reveals a racially discriminatory purpose in the enactment of



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SB 1.

    12. Whether the supporters of SB 1 refused to include a provision that would study the impact

of SB 1 on Black, Latino, and other voters of color.

    13. Whether there were less discriminatory alternatives to any or all of the challenged

provisions of SB 1.

    14. Whether the supporters of SB 1 showed a willingness to adopt amendments to the

originally proposed law.

 G. Section 2 of the VRA:

    Discriminatory Effects Claim

    1. Whether SB 1 §§ 2.05-2.07, 3.04, 3.09-3.10, 3.12-3.13, 3.15, 4.01, 4.06-4.07, 4.09, 4.12,

5.01-5.04, 5.07-5.08, 5.11-5.14, 6.01, 6.03-6.07, 7.02, and 7.04 result in the denial or abridgement

of the right of any citizen of Texas to vote on account of race of color.

    2. Whether SB 1 §§ 2.05-2.07, 3.04, 3.09-3.10, 3.12-3.13, 3.15, 4.01, 4.06-4.07, 4.09, 4.12,

5.01-5.04, 5.07-5.08, 5.11-5.14, 6.01, 6.03-6.07, 7.02, and 7.04, based on the totality of the

circumstances, create state political processes that are not equally open to participation by minority

voters, such that those voters have less opportunity than other members of the electorate to

participate in the political process and to elect representatives of their choice.

    Discriminatory Intent Claim

    1. Whether a holistic assessment of the relevant factors—including the existence of a racially

disparate impact, the historical background, the specific sequence of events, departures from the

normal procedural sequence, departures from normal substantive considerations, the law’s

legislative history, or other relevant evidence—reveals that an intent to discriminate on the basis

of race was a motivating factor in enacting the provisions of SB 1 challenged under this claim.



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H. Section 208 of the VRA:

    1. Whether SB 1 §§ 6.01, 6.03-6.07, and 7.04 impair the ability of a voter, who requires

assistance to vote by reason of blindness, disability, or inability to read or write to receive

assistance by a person of the voter’s choice, other than the voter’s employer or agent of that

employer or officer or agent of the voter’s union.

    2. Whether Defendant Ogg has violated Section 208 of the VRA.

I. Title II of the ADA and Section 504 of the Rehabilitation Act:

    1. Whether SB 1 §§ 5.02-5.03, 5.06-5.08, 5.10, 5.12-5.14, 6.01, 6.03-6.07, and 7.04

discriminate against Texas voters on the basis of disability.

    2.    Whether Defendant Ogg has violated any provision of the ADA or Section 504 of the

Rehabilitation Act.

(6) A LIST OF THE LEGAL PROPOSITIONS THAT ARE NOT IN DISPUTE

    1. The parties have been unable to reach agreement on an appropriate list of legal propositions that

are not in dispute. Plaintiffs attach as Appendix C a statement of legal propositions that they contend are

not in dispute.

    (6) A list of contested issues of law;

    1. Whether the Challenged Provisions of SB 1 violate the First Amendment of the U.S.

Constitution.

    2. Whether the Challenged Provisions of SB 1 are unconstitutionally vague in violation of

the Due Process Clause of the Fourteenth Amendment.

    3. Whether the Challenged Provisions of SB 1 are unconstitutionally overbroad in violation

of the First Amendment.

    4. Whether the Challenged Provisions of SB 1 violate the First and Fourteenth Amendments

of the U.S. Constitution.

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    5. Whether the Challenged Provisions of SB 1 violate the Fifteenth Amendment of the U.S.

Constitution.

    6. Whether the Challenged Provisions of SB 1 result in an abridgment of the right of any

citizen to vote on account of race, color, or membership in a language minority group in

violation of Section 2 of the VRA.

    7. Whether an intent to discriminate on the basis of race was a motivating factor in the

enactment of the Challenged Provisions of SB 1 in violation of Section 2 of the VRA.

    8. Whether the Challenged Provisions of SB 1 violate Section 208 of the VRA.

    9. Whether the Challenged Provisions of SB 1 violate Title II of the ADA.

    10. Whether the Challenged Provisions of SB 1 violate Section 504 of the Rehabilitation Act.

    (7) A list of all exhibits expected to be offered;

         The Parties’ exhibit lists were initially filed as part of their Rule 26(a)(3) disclosures on

July 28, 2023. The parties have since conferred and identified a number of joint exhibits, a list of

which is attached hereto as Exhibit 6. In addition, each party is separately filing exhibit lists

concurrently with their trial outlines, see infra, that disclose any objections that have been raised

and the grounds therefore.

         As noted in the Parties’ Notice Concerning Trial Procedures, ECF No. 683, in lieu of

moving individual exhibits into evidence during trial, the Parties have agreed that disclosure of

exhibits shall constitute a request to move such exhibits into evidence. The parties have further

agreed to the use of disclosed exhibits during trial subject to oral and written objections, in

expectation that the Court will rule on oral objections when made and on written objections prior

to the close of evidence.




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     (8) A list of the names and addresses of witnesses who may be live called with a brief

statement of the nature of their testimony;

         The Parties’ witness lists were previously filed, and an updated Private Plaintiffs witness

list is attached as Exhibit 7. These lists separately identify the witnesses that each party expects to

offer for live testimony and those that the party may offer if the need arises. In addition, Mi Familia

Vota now intends to call Dr. Franita Tolson in this phase of the trial rather than wait to call her at

any subsequent intent phase.15

     (9) An estimate of trial length;
         Private Plaintiffs’ pretrial disclosures “announced that 58 individuals will offer live trial

testimony.” ECF No. 700 at 1. The Court resolved the materiality-provision claims on summary

judgment on August 17, and specifically noted parties’ representations that such a resolution would

reduce the number of witnesses called to testify at trial. ECF No. 724 at 2. Private Plaintiffs’ current

witness list now identifies 52 witnesses whom they will call to provide live testimony at trial. Ex.

7.

         State Defendants and Intervenor-Defendants seek equal time to cross-examine Private

Plaintiffs’ witnesses as Private Plaintiffs propose to take for their affirmative case. Based upon

Private Plaintiffs’ request for 43 hours to present their affirmative cases, ECF No. 707 at 4, if State

Defendants and Intervenor-Defendants take an equal amount of time on cross-examination, Private

Plaintiffs’ case in chief and cross-examination will take up to 86 hours of trial time, or

approximately 14 trial days.

         State Defendants and Intervenor-Defendants will need an estimated 8 trial days to present

their case and to provide an equal amount of time for cross-examination by Private Plaintiffs.


15
  By signing this joint pretrial order, State Defendants and Intervenor Defendants do not waive their right to object
to the testimony of Dr. Franita Tolson.

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ECF No. 709 at 3. Thus, approximately 22 trial days should be needed for presentation of evidence.

     (10) For a jury trial, include (a) proposed questions for the voir dire examination, and
        (b) a proposed charge, including instructions, definitions, and special interrogatories,
        with authority;
        This case will not be heard by a jury.

     (11) For a nonjury trial, include (a) proposed findings of fact and (b) proposed
        conclusions of law, with authority;
         The Parties have not provided proposed findings of fact and law, consistent with the

Court’s order during its May 16, 2023, status conference.

     (12) A list of the names of witnesses whose testimony will be offered by deposition
        designation, including the page and line of the testimony offered;
         For witnesses who will testify only by deposition designation, the Parties have exchanged

exhibits containing the page and line of the deposition testimony offered and the Parties have also

exchanged objections. The existing scheduling order does not specify the deadline for counter

designations; the Parties intend to negotiate a date that all counter designations must be filed.16

         The Parties continue to negotiate the exchange of exhibits containing the page and line

designations of the deposition testimony for witnesses whose testimony will “hybrid” at trial.

         Trial Outlines

         During the August 22, 2023 status conference, the Court instructed the parties to provide a

submission organized by claim, listing the witnesses and exhibits the parties contend support their

arguments related to each claim. State Defendants and Intervenor Defendants refer the Court to

their August 11, 2023 Trial Advisory, ECF 709, which identifies the witnesses State Defendants

and Intervenor Defendants plan on calling to trial and the subject and anticipated length of their

testimony. State Defendants and Intervenor Defendants will provide additional information to the


16
  State Defendants, Intervenor- Defendants, and District Attorney Ogg maintain that deposition designations are
improper for any witness absent an agreement by the Parties or a showing that the requirements of Fed. R. Civ. P. 32
have been met.

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Court near or at the time Plaintiffs rest, as necessary. The remaining parties intend to file these

trial outlines individually, concurrent with the deadline for this Joint Pretrial Order.

         The signatures of all attorneys;

Dated: September 5, 2023                            Respectfully Submitted,

                                       For LUPE Plaintiffs:

 /s/ Nina Perales                                   /s/ Sean Morales-Doyle
 Nina Perales (TX Bar No. 24005046)                 Sean Morales-Doyle
 Julia R. Longoria (TX Bar No. 24070166)            Patrick A. Berry*
 Fátima L. Menéndez (TX Bar No. 24090260)           Jasleen K. Singh*
 Kenneth Parreno (MA BBO No. 705747)                Robyn N. Sanders*
 MEXICAN AMERICAN LEGAL DEFENSE                     BRENNAN CENTER FOR JUSTICE AT
 AND EDUCATIONAL FUND                               NYU SCHOOL OF LAW
 110 Broadway, Suite 300                            120 Broadway, Suite 1750
 San Antonio, TX 78205                              New York, NY 10271
 Tel: (210) 224-5476; Fax: (210) 224-5382           Telephone: (646) 292-8310
 nperales@maldef.org                                sean.morales-doyle@nyu.edu
 jlongoria@maldef.org                               patrick.berry@nyu.edu
 fmenendez@maldef.org                               jasleen.singh@nyu.edu
 kparreno@maldef.org                                rs8592@nyu.edu
                                                    * Admitted pro hac vice
 Michael C. Keats*
 Rebecca L. Martin*                       Leah J. Tulin*
 Jason S. Kanterman*                      BRENNAN CENTER FOR JUSTICE AT
 Kevin Zhen*                              NYU SCHOOL OF LAW
 FRIED, FRANK, HARRIS, SHRIVER & 1140 Connecticut Avenue NW, Suite 1150
 JACOBSON LLP                             Washington, DC 20036
 One New York Plaza                       (202) 650-6397
 New York, New York 10004                 tulinl@brennan.law.nyu.edu
 Tel: (212) 859-8000; Fax: (212) 859-4000 * Admitted pro hac vice
 michael.keats@friedfrank.com
 rebecca.martin@friedfrank.com            Paul R. Genender (Tex. Bar No. 00790758)
 jason.kanterman@friedfrank.com           Elizabeth Y. Ryan (Tex. Bar No. 24067758)
 kevin.zhen@friedfrank.com                WEIL, GOTSHAL & MANGES LLP
                                          200 Crescent Court, Suite 300
 Attorneys for Plaintiffs:                Dallas, Texas 75201
 LA UNIÓN DEL PUEBLO ENTERO,              (214) 746-8158
 SOUTHWEST VOTER REGISTRATION             paul.genender@weil.com
 EDUCATION PROJECT, MEXICAN               liz.ryan@weil.com
 AMERICAN BAR ASSOCIATION OF
 TEXAS, TEXAS HISPANICS ORGANIZED Attorneys for Plaintiffs:
 FOR POLITICAL EDUCATION, JOLT            FRIENDSHIP-WEST BAPTIST CHURCH,
 ACTION, WILLIAM C. VELASQUEZ

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 INSTITUTE, FIEL HOUSTON INC.                  TEXAS IMPACT, JAMES LEWIN

 *Admitted pro hac vice                        Counsel for LUPE Plaintiffs

                             For OCA Greater Houston Plaintiffs:

 /s/ Zachary Dolling                           Adriel I. Cepeda Derieux*
 Zachary Dolling                               Ari Savitzky*
 Texas Bar No. 24105809                        Sophia Lin Lakin*
 Hani Mirza                                    Dayton Campbell-Harris
 Texas Bar No. 24083512                        AMERIAN CIVIL LIBERTIES        UNION
 Sarah Chen*                                   FOUNDATION
 California Bar No. 325327                     125 Broad St., 18th Floor
 Veronikah Warms*                              New York, NY 10004
 Texas Bar No. 24132682                        (212) 284-7334
 TEXAS CIVIL RIGHTS PROJECT                    acepedaderieux@aclu.org
 1405 Montopolis Drive                         asavitzky@aclu.org
 Austin, TX 78741                              slakin@aclu.org
 (512) 474-5073 (Telephone)                    dcampbell-harris@aclu.org
 (512) 474-0726 (Facsimile)
 zachary@texascivilrightsproject.org           Susan Mizner*
 hani@texascivilrightsproject.org              AMERICAN CIVIL LIBERTIES UNION
 schen@texascivilrightsproject.org             FOUNDATION
 veronikah@texascivilrightsproject.org         39 Drumm St.
                                               San Francisco, CA 94111
 Thomas Buser-Clancy                           (415) 343-0781 (phone)
 Texas Bar No. 24078344                        smizner@aclu.org
 Edgar Saldivar
 Texas Bar No. 24038188                        Brian Dimmick*
 Savannah Kumar                                AMERICAN CIVIL LIBERTIES UNION
 Texas Bar No. 24120098                        FOUNDATION
 Ashley Harris                                 915 15th St. NW
 Texas Bar No. 24123238                        Washington, DC 20005
 ACLU FOUNDATION OF TEXAS, INC.                (202) 731-2395 (phone)
 5225 Katy Freeway, Suite 350                  bdimmick@aclu.org
 Houston, TX 77007
 Telephone: (713) 942-8146                     Lucia Romano
 Fax: (915) 642-6752                           Texas State Bar No. 24033013
 tbuser-clancy@aclutx.org                      PETER HOFER
 esaldivar@aclutx.org                          Texas State Bar No. 09777275
 skumar@aclutx.org                             CHRISTOPHER MCGREAL
 aharris@aclutx.org                            Texas State Bar No. 24051774
                                               DISABILITY RIGHTS TEXAS
 Gregory D. Washington*                        2222 West Braker Lane
 JENNER & BLOCK LLP                            Austin, Texas 78758-1024
 455 Market St. Suite 2100                     (512) 454-4816 (phone)
 San Francisco, CA 94105                       (512) 454-3999 (fax)


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 gwashington@jenner.com                       lromano@drtx.org
                                              phofer@drtx.org
 Jerry Vattamala*                             cmcgreal@drtx.org
 Susana Lorenzo-Giguere*
 Patrick Stegemoeller*
 ASIAN AMERICAN LEGAL DEFENSE
 AND EDUCATION FUND
 99 Hudson Street, 12th Floor
 New York, NY 10013
 (212) 966-5932 (phone)
 (212) 966 4303 (fax)
 jvattamala@aaldef.org
 slorenzo-giguere@aaldef.org
 pstegemoeller@aaldef.org
 Jessica Ring Amunson*
 Alyssa G. Bernstein*
 JENNER & BLOCK LLP
 1099 New York Ave. NW, Suite 900
 Washington, DC 20001
 (202) 639-6000
 jamunson@jenner.com
 abernstein@jenner.com
 *admitted pro hac vice

 Counsel for OCA-Greater
 Houston Plaintiffs

                              For Mi Familia Vota Plaintiffs:

 /s/ Courtney Hostetler                       Laura Rosenbaum*
 Courtney Hostetler*                          STOEL RIVES LLP
 Ron Fein*                                    760 SW Ninth Ave., Suite 3000
 John Bonifaz*                                Portland, OR 97205
 Ben Clements*                                Telephone: (503) 224-3380
 FREE SPEECH FOR THE PEOPLE                   laura.rosenbaum@stoel.com
 1320 Centre Street, Suite 405
 Newton, MA 02459                             Bradley Prowant*
 (617) 249-3015                               John Katuska*
 chostetler@freespeechforpeople.org           STOEL RIVES LLP
 rfein@freespeechforpeople.org                33 S. Sixth Street, Suite 4200
 jbonifaz@freespeechforpeople.org             Minneapolis, MN 55402
 bclements@freespeechforpeople.org            Telephone: (612) 373-8800
                                              bradley.prowant@stoel.com
 Wendy Olson* Elijah                          john.katuska@stoel.com
 Watkins* Mark Bieter*
 STOEL RIVES LLP                              Sean Lyons
 101 S. Capital Boulevard, Suite 1900         Clem Lyons

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          Case 5:21-cv-00844-XR Document 753 Filed 09/05/23 Page 38 of 44




 Boise, ID 83702                             LYONS & LYONS, P.C.
 Telephone: (208) 389-9000                   237 W. Travis Street, Suite 100 San
 wendy.olson@stoel.com                       Antonio, Texas 78205
 elijah.watkins@stoel.com                    Telephone: (210) 225-5251
 mark.bieter@stoel.com                       sean@lyonsandlyons.com
                                             *Admitted pro hac vice

                                             Counsel for Plaintiffs Mi Familia Vota, Marla
                                             López, Marlon López, and Paul Rutledge
                                             (“MFV Plaintiffs”)

                                   For HAUL Plaintiffs:

 /s/ Jennifer A. Holmes                      Sarah Cummings Stewart
 Jennifer A. Holmes*                         Texas Bar No. 24094609
 NAACP LEGAL DEFENSE AND                     REED SMITH LLP
 EDUCATIONAL FUND, INC.                      2850 N. Harwood Street, Suite 1500
 700 14th Street NW, Suite 600               Dallas, TX 75201
 Washington, DC 20005                        Telephone: (469) 680-4200
 Telephone: (202) 682-1300                   Facsimile: (469) 680-4299
 Facsimile: (202) 682-1312                   sarah.stewart@reedsmith.com
 jholmes@naacpldf.org
                                             J. Michael Showalter*
 Amir Badat*                                 ARENTFOX SCHIFF LLP
 Victor Genecin*                             South Wacker Drive, Suite 7100
 Breanna Williams*                           Chicago, IL 60606
 NAACP LEGAL DEFENSE AND                     Tel: (312) 258-5561
 EDUCATIONAL FUND, INC.                      j.michael.showalter@afslaw.com
 40 Rector Street, 5th Floor New             *Admitted pro hac vice
 York, NY 10006
 Telephone: (212) 965-2200                   Kenneth E. Broughton
 Facsimile: (212) 226-7592                   Texas Bar No. 03087250
 abadat@naacpldf.org                         J. Keely Pippin
 vgenecin@naacpldf.org                       Texas Bar No. 24116306
 bwilliams@naacpldf.org                      REED SMITH LLP
                                             811 Main Street, Suite 1700
 Shira Wakschlag*                            Houston, TX 77002-6110
 THE ARC OF THE UNITED STATES, INC.          Telephone: (713) 469-3800
 1825 K Street, NW, Suite 1200               Facsimile: (713) 469-3899
 Washington, DC 20006                        kbroughton@reedsmith.com
 Telephone: (202) 534-3708                   kpippin@reedsmith.com
 Facsimile: (202) 534-3731
 Wakschlag@thearc.org                        Counsel for Plaintiffs Houston Area
                                             Urban League; Delta Sigma Theta
                                             Sorority, Inc.; The Arc of Texas; and
                                             Jeffrey Lamar Clemmons (“HAUL
                                             Plaintiffs”)


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                                For LULAC Plaintiffs:

 /s/ Uzoma N. Nkwonta
 Uzoma N. Nkwonta*
 Christopher D. Dodge*
 Michael B. Jones*
 Noah B. Baron*
 Elena A. Rodriguez Armenta*
 Daniela Lorenzo*
 Marcos Mocine-McQueen*
 Marisa A. O’Gara*
 Omeed Alerasool*
 ELIAS LAW GROUP LLP
 250 Massachusetts Avenue NW, Suite 400
 Washington, D.C. 20001
 Telephone: (202) 968-4490
 unkwonta@elias.law
 cdodge@elais.law
 mjones@elias.law
 nbaron@elias.law
 erodriguezarmenta@elias.law
 dlorenzo@elias.law
 mmcqueen@elias.law
 mogara@elias.law
 oalerasool@elias.law

 Counsel for LULAC Plaintiffs

 *Admitted Pro Hac Vice




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 ANGELA COLMENERO                          Respectfully submitted.
 Provisional Attorney General
                                           /S/ Ryan G. Kercher
 BRENT WEBSTER                             RYAN G. KERCHER
 First Assistant Attorney General          Deputy Chief, General Litigation Division
                                           Tex. State Bar No. 24060998
 GRANT DORFMAN
 Deputy First Assistant Attorney General   KATHLEEN T. HUNKER
                                           Special Counsel
 JAMES LLOYD                               Tex. State Bar No. 24118415
 Deputy Attorney General for Civil
 Litigation                        WILLIAM D. WASSDORF
                                   Assistant Attorney General
                                   Tex. State Bar No. 24103022

                                           ZACHARY W. BERG
                                           Special Counsel
                                           Tex. State Bar No. 24107706

                                           OFFICE OF THE ATTORNEY GENERAL
                                           P.O. Box 12548 (MC-009)
                                           Austin, Texas 78711-2548
                                           Tel.: (512) 463-2100
                                           ryan.kercher@oag.texas.gov
                                           kathleen.hunker@oag.texas.gov
                                           will.wassdorf@oag.texas.gov
                                           zachary.berg@oag.texas.gov

                                           COUNSEL FOR STATE DEFENDANTS



                                               /s/ John M. Gore
                                               John M. Gore
                                               E. Stewart Crosland (pro hac vice)
                                               Louis J. Capozzi (pro hac vice)
                                               JONES DAY
                                               51 Louisiana Avenue, N.W.
                                               Washington, D.C. 20001
                                               Phone: (202) 879-3939
                                               Fax: (202) 626-1700
                                               jmgore@jonesday.com
                                               scrosland@jonesday.com
                                               lcapozzi@jonesday.com

                                               Counsel for Intervenor-Defendants


                                             40
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                                          BUTLER SNOW LLP

                                          By: /s/ Eric J.R. Nichols
                                          Eric J.R. Nichols
                                          State Bar No. 14994900
                                          eric.nichols@butlersnow.com
                                          Cory R. Liu
                                          State Bar No. 24098003
                                          cory.liu@butlersnow.com
                                          Victoria A. Giese
                                          State Bar No. 24126391
                                          victoria.giese@butlersnow.com
                                          1400 Lavaca Street, Suite 1000
                                          Austin, Texas 78701
                                          Tel: (737) 802-1800
                                          Fax: (737) 802-1801

                                          ATTORNEYS FOR DEFENDANT
                                          DISTRICT ATTORNEY KIM OGG, IN
                                          HER OFFICIAL CAPACITY AS HARRIS
                                          COUNTY DISTRICT ATTORNEY

                                          JOE D. GONZALES
                                          Bexar County Criminal District Attorney

                                                _|át iA VâuÜ|xÄ
                                          By: /s/
                                          LISA V. CUBRIEL
                                          State Bar No. 24045731
                                          Assistant District Attorney – Civil Division
                                          ROBERT W. PIATT III
                                          State Bar No. 24041692
                                          Assistant District Attorney – Civil Division
                                          LARRY L. ROBERSON
                                          Civil Section Chief
                                          Bexar County District Attorney’s Office
                                          101 W. Nueva, 7th Floor
                                          San Antonio, Texas 78205-3030
                                          Telephone: (210) 335-2142
                                          Facsimile: (210) 335-2773
                                          Email: Lisa.Cubriel@bexar.org
                                          Robert.Piatt@bexar.org
                                          lroberson@bexar.org
                                          Attorneys for Defendant Bexar County
                                          Elections Administrator Jacquelyn
                                          Callanen and Defendant Bexar County
                                          District Attorney Joe D. Gonzales

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                                          Respectfully submitted,

                                          JOHN CREUZOT
                                          CRIMINAL DISTRICT ATTORNEY
                                          DALLAS COUNTY, TEXAS

                                          /s/ Ben L. Stool
                                          Assistant Criminal District Attorney
                                          Texas Bar No. 19312500
                                          ben.stool@dallascounty.org
                                          Barbara S. Nicholas
                                          Assistant Criminal District Attorney
                                          Texas Bar No. 24032785
                                          barbara.nicholas@dallascounty.org
                                          Civil Division
                                          Dallas County Records Building
                                          500 Elm Street, Suite 6300
                                          Dallas, Texas 75202
                                          Phone: (214) 653-7358
                                          Fax: (214) 653-6134
                                          Attorneys for Defendant Michael
                                          Scarpello, in his official capacity
                                          as the Elections Administrator of
                                          Dallas County, Texas, and Defendant
                                          John Creuzot, in his official capacity
                                          as the Criminal District Attorney of
                                          Dallas County, Texas




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                                         /s/ Kathleen Hartnett
                                         Kathleen Hartnett* (CA SBN 314267)

                                         COOLEY LLP
                                         Kathleen Hartnett* (CA SBN 314267)
                                         khartnett@cooley.com
                                         Beatriz Mejia* (CA SBN 190948)
                                         bmejia@cooley.com
                                         Sharon Song* (CA SBN 313535)
                                         ssong@cooley.com
                                         Kelsey Spector* (CA SBN 321488)
                                         kspector@cooley.com
                                         Germaine Habell* (CA SBN 333090)
                                         ghabell@cooley.com
                                         Caroline A. Lebel* (CA SBN 340067)
                                         clebel@cooley.com
                                         3 Embarcadero Center, 20th Floor
                                         San Francisco, CA 94111-4004
                                         Telephone: +1 415 693-2000
                                         Facsimile: +1 415 693-2222

                                         COOLEY LLP
                                         Orion Armon (CO SBN 34923)
                                         oarmon@cooley.com
                                         1144 15th Street, Suite 2300
                                         Denver, CO 80202-2686
                                         Telephone: +1 720 566-4000
                                         Facsimile: +1 720 566-4099

                                         STATES UNITED DEMOCRACY CENTER
                                         Christine P. Sun* (CA SBN 218701)
                                         3749 Buchanan St., No. 475165
                                         San Francisco, CA 94147-3103
                                         Telephone: +1 615 574-9108
                                         christine@statesuniteddemocracy.org

                                         STATES UNITED DEMOCRACY CENTER
                                         Ranjana Natarajan (TX SBN 24071013)
                                         1801 E 51st St., Suite 365, No. 334
                                         Austin, TX 78723
                                         Telephone: +1 323 422-8578
                                         ranjana@statesuniteddemocracy.org

                                         STATES UNITED DEMOCRACY CENTER
                                         Robert Cotter* (IL SBN 6334375)
                                         7510 N. Greenview Ave., Apt. #3

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                                             Chicago, IL 60626
                                             Telephone: (224) 235-2606
                                             robert@statesuniteddemocracy.org

                                             STATES UNITED DEMOCRACY CENTER
                                             Marina Eisner* (DC SBN 1005593)
                                             1101 17 Street NW
                                             Washington, DC 20036
                                             Telephone: (240) 600-1316
                                             marina@statesuniteddemocracy.org

                                             EL PASO COUNTY ATTORNEYS
                                             Jo Anne Bernal (TX SBN 02208720)
                                             El Paso County Attorney
                                             Joanne.Bernal@epcounty.com
                                             John E. Untereker (TX SBN 24080627)
                                             Assistant County Attorney
                                             juntereker@epcounty.com
                                             500 East San Antonio, Room 503
                                             El Paso, Texas 79901
                                             Telephone: +1 915 546-2050
                                             Facsimile: +1 915 546-2133

                                             Attorneys for Defendant Lisa Wise, in her
                                             official capacity as the El Paso County
                                             Elections Administrator




         It is so ORDERED.

         SIGNED this ___ day of _____________, 2023.


                                   _________________________________
                                   XAVIER RODRIGUEZ
                                   UNITED STATES DISTRICT JUDGE




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